104 F.3d 360
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.UNITED STATES of America, Plaintiff-Appellee,v.Cooper Junior PERNELL, Defendant-Appellant.
    No. 96-7291.
    United States Court of Appeals, Fourth Circuit.
    Dec. 19, 1996.Submitted Dec. 12, 1996.Decided Dec. 19, 1996.
    
      Appeal from the United States District Court for the Western District of North Carolina, at Charlotte.  Robert D. Potter, Senior District Judge.  (CR-92-179, CA-96-285)
      Cooper Junior Pernell, Appellant Pro Se.  James Michael Sullivan, Assistant United States Attorney, Charlotte, North Carolina, for Appellee.
      W.D.N.C.
      DISMISSED.
      Before MURNAGHAN, NIEMEYER, and LUTTIG, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant seeks to appeal the district court's order denying as frivolous his motion filed under 28 U.S.C. § 2255 (1994), amended by Antiterrorism and Effective Death Penalty Act of 1996, Pub.L. No. 104-132, 110 Stat. 1214.   We have reviewed the record and the district court's opinion and find no reversible error.  Further, we find this appeal to be frivolous.  Accordingly, we deny a certificate of appealability and dismiss the appeal on the reasoning of the district court.  United States v. Pernell, Nos.  CR-92-179;  CA-96-285 (W.D.N.C. July 18, 1996).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    
      2
      DISMISSED.
    
    